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 9                 THE UNITED STATES DISTRICT COURT
10              FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                        Case No. 2:18-cv-10412
     Alfonso Ribeiro, an
12   individual,
                                        Complaint
13               Plaintiff,
14                                        1. Direct Infringement of
           v.
15                                           Copyright
     Epic Games, Inc., a North            2. Contributory Infringement
16                                           of Copyright
     Carolina corporation; and
17   Does 1 through 50, inclusive,        3. Violation of the Right of
                                             Publicity under California
18               Defendants.                 Common Law;
19                                        4. Violation of the Right of
                                             Publicity under Cal. Civ.
20
                                             Code § 3344;
21                                        5. Unfair Competition under
22                                           Cal. Bus. & Prof. Code §
                                             17200, et seq.;
23                                        6. Unfair Competition under
24                                           15 U.S.C. § 1125(a)
25
                                          Demand for Jury Trial
26
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                                    Complaint
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 1       Plaintiff Alfonso Ribeiro, (“Plaintiff” or “Ribeiro”), by and through
 2   his undersigned counsel, asserts the following claims against Defendant
 3   Epic Games, Inc. (“Epic”) and Does 1 through 50 (collectively referred
 4   to as “Defendants”), and alleges as follows:
 5                              I.    OVERVIEW
 6              Through its unauthorized use of Ribeiro’s highly popular
 7   signature dance (“The Dance” or “Dance”) in its smash-hit, violent video
 8   game, Fortnite Battle Royale (“Fortnite”), Epic has unfairly profited
 9   from exploiting Ribeiro’s protected creative expression and likeness and
10   celebrity without his consent or authorization.
11              Ribeiro is an internationally famous Hollywood star, known
12   for his starring role as Carlton Banks from the hit television series The
13   Fresh Prince of Bel-Air and as host of America’s Funniest Home Videos.
14   Ribeiro created his highly recognizable “Dance,” that has also been
15   referred to by the public as “The Carlton Dance,” which exploded in
16   popularity and became highly recognizable as Ribeiro’s signature dance
17   internationally. The Dance is now inextricably linked to Ribeiro and
18   has continued to be a part of his celebrity persona.
19              Defendants capitalized on Alfonso Ribeiro’s celebrity and
20   popularity by selling The Dance as an in-game purchase in Fortnite
21   under the name “Fresh,” which players can buy to customize their
22   avatars for use in the game. Although misleadingly labeled in Fortnite,
23   the emote, as they are called, was immediately recognized by players
24   and media worldwide as Ribeiro’s The Dance. Epic did not seek, much
25   less obtain, Ribeiro’s consent to use, display, reproduce, sell, or creative
26   a derivate work based upon The Dance or Ribiero’s likeness. Epic did
27   not seek, much less obtain, Ribeiro’s consent to use, display, reproduce,
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 1   sell, or creative a derivate work based upon The Dance or Ribeiro’s
 2   likeness.
 3               Since being released in or around September 2017, Fortnite
 4   has become among the most popular video games ever with sales far in
 5   excess of $1 billion. Indeed, Fortnite made approximately $318 million
 6   in May 2018 alone, the “biggest month ever for a video game.” As a free-
 7   to-play game, Fortnite derives its sales through in-game purchases.
 8   Epic cannot profit from Ribeiro’s hard-earned fame by its intentional
 9   misappropriation of Ribeiro’s original content and likeness. Epic cannot
10   increase the value of its main product by faking endorsements by
11   celebrities. Ribeiro seeks injunctive relief and damages, including, but
12   not limited to, Epic’s profits attributed to its misappropriation of The
13   Dance and Ribeiro’s likeness.
14                           II. THE PARTIES
15               Ribeiro resides in Los Angeles, California.
16               Epic is a North Carolina business corporation with its
17   principal place of business at 620 Crossroads Boulevard, Cary, NC
18   27518. Epic is the creator and developer of the Fortnite video game
19   franchise, which was first released in July of 2017.
20               The true names and identities of the defendants herein sued
21   as Does 1 through 50, inclusive, are unknown to Ferguson, who
22   therefore sues those defendants by such fictitious names. When the
23   true names of those defendants have been ascertained, Ferguson will
24   amend this complaint accordingly. Each of the defendants aided and
25   abetted and is responsible in some manner for the occurrences herein
26   alleged, and Ferguson’s injuries were proximately caused thereby.
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                                  Complaint
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 1               At all times herein mentioned, each of the defendants was
 2   acting as an agent, servant, employee or representative of defendants,
 3   and, in doing the things alleged in this Complaint, was acting within
 4   the course and scope of that agency, service, employment, or joint
 5   venture.
 6        III. SUBJECT MATTER JURISDICTION AND
 7                                     VENUE
 8               The Court has subject matter jurisdiction over this action
 9   pursuant to 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1332
10   (diversity), and 28 U.S.C. § 1367 (supplemental jurisdiction).
11               Venue is proper in this District under A) 28 U.S.C. §
12   1391(b)(2) (federal question jurisdiction), because a substantial part of
13   the events or omissions giving rise to the claim occurred in this District;
14   and B) 28 U.S.C. §§ 1391(b)(1) and (c) (personal jurisdiction), because
15   all defendants are subject to personal jurisdiction in this State and at
16   least one in this District.
17                   IV. FACTUAL BACKGROUND
18               Ribeiro and the Creation of The Dance
19               Raised in the New York City borough of the Bronx, Ribeiro
20   has been acting since the age of eight, gaining notoriety and prominence
21   in particular for his dancing. Ribeiro starred in the Broadway musical
22   The Tap Dance Kid in 1983, released a single called Alfonso Ribeiro –
23   Dance Baby in 1984, appeared as a dancer in a Pepsi commercial with
24   Michael Jackson in 1984, and authored a dance instruction book in 1985
25   called Alfonso’s Breakin’ & Poppin’ Book.
26               In 1991, Ribeiro created The Dance and first performed it on
27   The Fresh Prince of Bel-Air during the episode Will’s Christmas Show.
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                                   Complaint
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 1   Twenty-seven years later, The Dance remains distinctive, immediately
 2   recognizable, and inextricably linked to Ribeiro’s identity, celebrity, and
 3   likeness.
 4                 Since its conception in 1991, The Dance has maintained its
 5   popularity. Ribeiro continues to perform The Dance, even inserting it
 6   during his famous performance in 2014 as part of his victorious run on
 7   the hit television show Dancing with the Stars. Ribeiro is constantly
 8   inundated with requests to perform The Dance; he has performed it on
 9   numerous occasions at the behest of both the public1 and celebrities.
10   Indeed, in 2016, the recording artist Justin Timberlake and NBA
11   superstar Stephen Curry, performed The Dance, alongside Ribeiro, at
12   the popular American Century Celebrity Golf Tournament.2
13                 A 2013 video by the BBC including Will Smith and his son
14   Jaden Smith, Jeffrey Allen Townes (DJ Jazzy Jeff), and Ribeiro
15   performing The Dance has garnered over sixty-nine million views on
16   YouTube.3
17                 The Dance has become synonymous with Ribeiro, who is
18   unanimously credited with creating The Dance. Ribeiro has also been
19   interviewed several times about the creation of The Dance and how to
20   properly perform it.       Accordingly, The Dance is a part of Ribeiro’s
21   identity and The Dance’s unique movements readily evoke a connection
22   to Ribeiro.
23
     1 BlackAmericaWeb.com, Alfonso Ribeiro: “Please Stop Asking Me To Dance”,
24   https://blackamericaweb.com/2013/08/13/alfonso-ribeiro-please-stop-asking-me-to-
     dance (quoting Ribeiro as stating “[P]eople walk up to me and they say ‘Do the
25   dance’”).
     2 NBC Sports, Stephen Curry and Justin Timberlake are Shown by Alfonso Ribeiro
26   how to Properly do “the Carlton” That Ribeiro made famous on “The Fresh Prince of
27   Bel-Air,” NBC, https://www.nbcsports.com/video/alfonso-ribeiro-justin-timberlake-
     stephen-curry-do-carlton.
28   3 The video can be found at https://www.youtube.com/watch?v=ZwS14TiO7Pk.

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                                     Complaint
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 1               Fortnite: The Most Popular Video Game Ever
 2               Prior to releasing Fortnite, which has become among the
 3   most popular and successful video games ever, Epic developed two
 4   popular video game franchises:       Unreal and Gears of War.        Since
 5   releasing the first Gears of War game in 2006 Epic released several
 6   subsequent Gears of War video games, and the franchise has made over
 7   $1 billion in total sales.
 8               In or around 2011, following the release of the third Gears
 9   of War installment, Fortnite began from an Epic internal video game
10   “hackathon,” a gathering of Epic developers to brainstorm ideas and
11   create games in a short period. Although the Fortnite game was not
12   developed during the hackathon, the idea to merge building games (i.e.,
13   Minecraft) and shooter games (i.e., Gears of War or Call of Duty)
14   emerged during the hackathon.
15               In or around July 2017, Epic released the initial version of
16   Fortnite as a paid early-access video game in the “Battle Royale” genre.
17   However, by September 2017, after PlayerUnknown’s Battlegrounds—
18   a game which occupied the same genre as Fortnite—became a
19   worldwide success, Epic released Fortnite Battle Royale, a free-to-play
20   third-person shooting game on the Windows, macOS, PlayStation 4, and
21   Xbox One platforms. Epic subsequently released Fortnite on the iOS,
22   Nintendo, and Android platforms on April 2, 2018, June 12, 2018, and
23   August 9, 2018, respectively.
24               Similar    to    PlayerUnknown’s    Battlegrounds,    Fortnite
25   utilizes the battle royale genre where a large number of players, alone,
26   in pairs, or groups, compete to be the last player or group alive. Indeed,
27   similar to Battlegrounds and Gears of War, Fortnite features the use of
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                                    Complaint
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 1   weapons and violence, that players use to eliminate the competition by
 2   attacking and shooting them.
 3              As a free-to-play video game, Epic allows players to
 4   download and play Fortnite for free. Epic’s revenue from Fortnite comes
 5   from in-game transactions where players can purchase virtual
 6   currency, called “Vinderbucks” or “V-Bucks.” The players in turn use
 7   V-Bucks via the “Item Shop” to purchase customizations for their in-
 8   game avatars, including new characters, pickaxe modifications, glider
 9   skins, clothing, and emotes (dances or movements). Fortnite also sells
10   “Battle Passes” or additional levels that allow you to unlock skins,
11   gliders, and emotes unique to that Pass. Fortnite offers four pricing
12   levels for purchasing V-Bucks (in U.S. Dollars):
13              1) 1,000 V-Bucks for $9.99;
14              2) 2,500 (+300 Bonus) V-Bucks for $24.99;
15              3) 6,000 (+1,500 Bonus) V-Bucks for $59.99; or
16              4) 10,000 (+3,500 Bonus) V-Bucks for $99.99.
17              There are four types of emotes: common emotes, uncommon
18   emotes, rare emotes, and epic emotes. The rarer the emote, the more
19   expensive or harder it is to obtain. Uncommon emotes cost 200 V-
20   Bucks. Rare emotes cost 500 V-Bucks. And Epic emotes cost 800 V-
21   Bucks.
22              To start, Fortnite provides each player with the “Dance
23   Moves” emote, a common emote, for no compensation. Players can then
24   obtain other emotes by purchasing and playing additional levels in
25   Battle Passes (950 V-Bucks each) that come with emotes unique to that
26   Pass, or by purchasing certain emotes directly with V-Bucks. On some
27   occasions, Fortnite sells Battle Pass emotes directly, without requiring
28   the player to purchase the Battle Pass.
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                                 Complaint
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 1              Emotes are incredibly popular and are fundamental to
 2   Fortnite’s success. Players purchase emotes, alongside clothing and
 3   skins, to personalize their Fortnite experience.      Emotes have also
 4   become popular outside Fortnite. Professional athletes in soccer and
 5   other sports have based their celebrations on Fortnite emotes. Young
 6   adults, teenagers, and kids also post videos of themselves on YouTube
 7   and social media performing emotes under various hashtags, including
 8   #fortnitedance or #fortnitevideos. Upon information and belief, Epic
 9   intentionally induces others to perform these dances and mark them
10   with those hashtags, which give attribution to and endorse Fortnite the
11   game.
12              Upon information and belief, Epic creates emotes by copying
13   and coding dances and movements directly from popular videos, movies,
14   and television shows without consent. Epic does so by coding still
15   frames of the source material.
16              Epic has consistently sought to exploit African-American
17   talent, in particular in Fortnite, by copying their dances and movements
18   and sell them through emotes.        Epic has copied the dances and
19   movements of numerous African-American performers, including,
20   among others, the dance from the 2004 Snoop Dogg music video, “Drop
21   It Like It’s Hot” (named the “Tidy” emote), 2 Milly’s “Milly Rock” dance
22   (named the “Swipe It” emote), the dance performed by Will Smith on
23   the television show The Fresh Prince of Bel-Air (named the
24   “Rambunctious” emote), the dance in Marlon Webb’s popular “Band of
25   the Bold” video (named the “Best Mates” emote), Donald Faison’s
26   signature dance seen on the NBC television show Scrubs (named the
27   “Dance Moves” emote), and, most pertinent here, Alfonso Ribeiro’s The
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                                 Complaint
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 1   Dance.   Upon information and belief, Epic did not seek consent or
 2   authorization to use any of these movements or dances.
 3              Soon after its release, Fortnite became an international
 4   phenomenon. The game eclipsed 10 million players merely two weeks
 5   after its release; 125 million players by July 2018. In November 2018,
 6   Bloomberg announced that Fortnite had 200 million player accounts
 7   across all platforms.
 8              Fortnite’s popularity has translated into record in-game
 9   sales for Epic. Analysts have estimated that since its release, Fortnite
10   has generated between $1 billion to $2 billion in revenue through in-
11   game purchases such as emotes. In May 2018, Fortnite broke its own
12   record by generating approximately $318 million in revenue, the biggest
13   month ever for a video game. In fact, nearly 80 million people played
14   Fortnite in August 2018. Because of Fortnite’s success, Epic’s estimated
15   valuation rose from about $825 million to about $5 billion. Bloomberg
16   estimates that Epic’s valuation could grow to $8.5 billion by 2018’s end.
17              Upon information and belief, Epic will likely continue
18   adding popular emotes to Fortnite without the artists’ or creators’
19   consent or approval to attract more players and add to its quickly-
20   growing revenue.
21              Fortnite’s Unauthorized Use of The Dance
22              On January 2, 2018, Fortnite released the Fresh emote into
23   its Item Shop. Players could purchase the Fresh emote for 800 V-Bucks.
24              The Fresh emote is identical to Ribeiro’s The Dance.         If
25   obtained or purchased, the Fortnite player’s avatar can perform The
26   Dance during Fortnite gameplay.       The reaction from many players
27   worldwide was immediate recognition of the emote as embodying The
28   Dance and, in turn, Ribeiro. Indeed, by naming the emote “Fresh,” Epic
                                   –8–
                                 Complaint
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 1   intentionally induced a direct connection between the in-game purchase
 2   and the show where The Dance started, The Fresh Prince of Bel-Air.
 3   That connection implied an endorsement of that in-game purchase by
 4   Ribeiro.
 5              Epic developed the Fresh emote to intentionally mimic
 6   Ribeiro performing The Dance.
 7              Epic did not seek to obtain Ribeiro’s authorization or consent
 8   for its use of his likeness and The Dance for the Fresh emote.
 9              Moreover, Ribeiro did not give Epic express or implied
10   consent for its use of his likeness and The Dance for the Fresh emote.
11   Epic also did not compensate Ribeiro for its use of his likeness and The
12   Dance for the Fresh emote.
13              Upon information and belief, Epic added the Fresh emote to
14   intentionally exploit the popularity of Ribeiro and The Dance without
15   providing Ribeiro any form of compensation.
16              Epic profited from its improper misappropriation of The
17   Dance and Ribeiro’s likeness by, inter alia: 1) selling the infringing
18   Fresh emote directly to players; 2) advertising the Fresh emote to
19   attract additional players, including Ribeiro’s fans or those persons
20   familiar with The Dance to play Fortnite and make in-game purchases;
21   3) using Ribeiro’s fame to stay relevant to its current players to
22   incentivize those players to continue playing Fortnite; 4) impliedly
23   representing that Ribeiro consented to Epic’s use of his likeness; 5)
24   intentionally causing the erroneous public association between the
25   Fresh and The Dance; 6) creating the false impression that Ribeiro
26   endorsed Fortnite; and 7) inducing and/or contributing to the
27   performance and misattribution of The Dance by others.
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                                  Complaint
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 1               Upon information and belief, Epic uses The Dance, and other
 2   dances, to create the false impression that Epic started these dances
 3   and crazes or that the performer who created them is endorsing the
 4   game.      Indeed, Epic induces others and/or contributes to their
 5   performance and false attribution of The Dance. Fortnite Players have
 6   posted thousands of videos of themselves performing the “Fresh” emote
 7   with the hashtag, #fortnitedance, without referencing The Dance or
 8   crediting Ribeiro as The Dance’s creator and owner. Accordingly, upon
 9   information and belief, Epic actively and knowingly directs, causes,
10   induces, and encourages others, including, but not limited to, its
11   players,    designers,    suppliers,   distributors,   resellers,   software
12   developers, and repair providers, to misappropriate Ribeiro’s likeness
13   and The Dance.
14               Prominent artists, including Chancelor Johnathan Bennett,
15   known as Chance the Rapper, and Terrence Ferguson, known as 2
16   Milly, have also publicly disapproved of Epic’s practices, and advocated
17   for Epic sharing profits with the artists that created these dances.
18               Epic has made a fortune from unlawfully and unfairly
19   misappropriating Ribeiro’s and other artists’ creative expression,
20   likeness, and endorsement without crediting or compensating these
21   artists.   Ribeiro thus brings this lawsuit to prevent Fortnite from
22   further using his likeness and The Dance, and to recover the revenue
23   rightfully owed to him.
24                        FIRST CAUSE OF ACTION
25   (For Direct Infringement of Copyright Against All Defendants)
26               Ribeiro hereby repeats and realleges the allegations set
27   forth in paragraphs 1 through 38 above, as though fully set forth herein
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                                   Complaint
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 1              In 1991, Ribeiro created The Dance and first performed it on
 2   The Fresh Prince of Bel-Air during the episode Will’s Christmas Show.
 3   On or around August 15, 2006, the segment of The Fresh Prince of Bel-
 4   Air during which Ribeiro performs The Dance was published to
 5   YouTube where it can be accessed by millions of people. The video
 6   shows Ribeiro, as Carlton Banks, performing The Dance to the tune of
 7   Tom Jones “It’s Not Unusual.”
 8              Ribeiro is the undisputed creator of the wildly popular and
 9   immediately recognizable Dance. YouTube videos depicting Ribeiro’s
10   performance in The Fresh Prince of Bel-Air are the original depictions
11   of The Dance.
12              Ribeiro is in the process of registering The Dance with the
13   United States Copyright Office.        On December 15, 2018, Ribeiro
14   submitted an application for copyright registration of three variations
15   of The Dance and assigned Copyright Office case numbers 1-
16   7226013364, 1-7226013290, and 1-7225814191.
17              Defendants have infringed and continue to infringe Ribeiro’s
18   copyrights in The Dance by selling The Dance emote as an in-game
19   purchase, under the name “Fresh” that, if purchased, a player can use
20   to make his or her avatar perform during Fortnite gameplay;
21   substantially copying The Dance in digital form to the Fortnite game;
22   advertising The Dance in its promotional materials; and creating the
23   Fresh emote as a derivative work of The Dance.
24              Defendants did not seek to obtain Ribeiro’s permission for
25   its use of The Dance for the Fresh emote.          Nor have Defendants
26   compensated or credited Ribeiro for their use of The Dance.
27              Moreover, Defendants actively and knowingly directed,
28   caused, induced, and encouraged others, including, but not limited to,
                                    – 11 –
                                  Complaint
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 1   its players, designers, suppliers, distributors, resellers, software
 2   developers, and repair providers, to misappropriate Ribeiro’s likeness
 3   and The Dance.
 4               Defendants’ acts of infringement have been willful,
 5   intentional, and purposeful, in disregard of and with indifference to
 6   Plaintiff’s rights.
 7               Defendants’ willful and continued unauthorized use of The
 8   Dance has caused and will continue to cause confusion and mistake by
 9   leading the public to erroneously associate the Fresh emote offered by
10   Epic with The Dance in violation of 17 U.S.C. §§ 101 et seq.
11               As a result of Defendants’ conduct, Ribeiro has been
12   damaged by being precluded from receiving his rightful share of the
13   profits earned by Epic for its improper and unlicensed use of Ribeiro’s
14   exclusive copyrights in The Dance in Fortnite.
15               Ribeiro is entitled to permanent injunctive relief preventing
16   Defendants, and their officers, agents, and employees, and all related
17   persons from further using The Dance and engaging in other acts in
18   violation of Copyright law.
19               As    a   direct   and   proximate   result   of   Defendants’
20   infringement of Plaintiff’s copyrights and exclusive rights under
21   copyright, Ribeiro is also entitled to recover damages, including
22   attorneys’ fees, and any profits obtained by Defendants as a result of
23   the infringements alleged above, in an amount according to proof to be
24   determined at the time of trial.
25               In doing the acts herein alleged, Defendants acted
26   fraudulently, willfully, and with malice, and Ribeiro is therefore
27   entitled to punitive damages according to proof at the time of trial.
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                                    Complaint
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 1                       SECOND CAUSE OF ACTION
 2      (For Contributory Infringement of Copyright Against All
 3                                   Defendants)
 4                Ribeiro hereby repeats and realleges the allegations set
 5   forth in paragraphs 1 through 51 above, as though fully set forth herein.
 6                Ribeiro is in the process of registering The Dance with the
 7   United States Copyright Office.         On December 15, 2018, Ribeiro
 8   submitted applications for copyright registrations and assigned
 9   Copyright Office case numbers 1-7226013364, 1-7226013290, and 1-
10   7225814191.
11                Defendants have infringed and continue to infringe Ribeiro’s
12   copyrights in The Dance by selling The Dance emote as an in-game
13   purchase, under the name “Fresh” that, if purchased, a player can use
14   to make his or her avatar perform during Fortnite gameplay;
15   substantially copying The Dance in digital form to the Fortnite game;
16   advertising The Dance in its promotional materials; and creating the
17   Fresh emote as a derivative work of The Dance.
18                By providing the Fresh emote necessary for its players to
19   commit direct copyright infringement, Defendants have and continue to
20   materially    contribute   to    the   unauthorized   reproductions       and
21   distributions by its players of The Dance.
22                Defendants did not seek to obtain Ribeiro’s permission for
23   its use of The Dance for the Fresh emote.          Nor have Defendants
24   compensated or credited Ribeiro for their use of The Dance.
25                Moreover, Defendants actively and knowingly directed,
26   caused, induced, and encouraged others, including, but not limited to,
27   its players, designers, suppliers, distributors, resellers, software
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 1   developers, and repair providers, to misappropriate Ribeiro’s likeness
 2   and The Dance.
 3               Defendants’ acts of infringement have been willful,
 4   intentional, and purposeful, in disregard of and with indifference to
 5   Plaintiff’s rights.
 6               Defendants’ willful and continued unauthorized use of The
 7   Dance has caused and will continue to cause confusion and mistake by
 8   leading the public to erroneously associate the Fresh emote offered by
 9   Epic with The Dance in violation of 17 U.S.C. §§ 101 et seq.
10               As a result of Defendants’ conduct, Ribeiro has been
11   damaged by being precluded from receiving his rightful share of the
12   profits earned by Epic for its improper and unlicensed use of Ribeiro’s
13   exclusive copyrights in The Dance in Fortnite.
14               Defendants’ conduct is causing and, unless enjoined and
15   restrained by this Court, will continue to cause Plaintiff great and
16   irreparable injury that cannot be compensated or measured in money.
17   Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,
18   Plaintiff is entitled to injunctive relief, prohibiting further contributory
19   infringements of Plaintiff’s copyrights.
20               As    a   direct   and   proximate   result   of   Defendants’
21   infringement of Plaintiff’s copyrights and exclusive rights under
22   copyright, Ribeiro is also entitled to recover damages, including
23   attorneys’ fees, and any profits obtained by Defendants as a result of
24   the infringements alleged above, in an amount according to proof to be
25   determined at the time of trial.
26               In doing the acts herein alleged, Defendants acted
27   fraudulently, willfully, and with malice, and Ribeiro is therefore
28   entitled to punitive damages according to proof at the time of trial.
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 1                        THIRD CAUSE OF ACTION
 2       (For Violation of the Right of Publicity Under California
 3                  Common Law Against All Defendants)
 4              Ribeiro hereby repeats and realleges the allegations set
 5   forth in paragraphs 1 through 63, above, as though fully set forth
 6   herein.
 7              Through their use of The Dance as an in-game dance emote
 8   that can be purchased as the Fresh, Defendants misappropriated
 9   Ribeiro’s identity. The Fresh emote depicts Ribeiro performing The
10   Dance.
11              Upon information and belief, Defendants created the Fresh
12   emote by capturing and digitally copying Ribeiro performing The Dance.
13   Defendants then utilized the digital copy to create code that, if
14   purchased, allows player avatars to perform The Dance.
15              Defendants did not seek or obtain Ribeiro’s authorization or
16   consent for its use of his likeness or The Dance for the Fresh emote. Nor
17   have Defendants compensated or credited Ribeiro for their use of his
18   likeness or The Dance.
19              Defendants used Ribeiro’s likeness and The Dance to
20   generate significant wealth by: 1) selling the infringing Fresh emote
21   directly to players; 2) advertising the Fresh emote to attract additional
22   players, including Ribeiro’s fans or those persons familiar with The
23   Dance to play Fortnite and make in-game purchases; 3) using Ribeiro’s
24   fame to stay relevant to its current players to incentivize those players
25   to continue playing Fortnite; 4) impliedly representing that Ribeiro
26   consented to Epic’s use of his likeness; 5) intentionally causing the
27   erroneous public association between the Fresh and The Dance; 6)
28   creating the false impression that Ribeiro endorsed Fortnite; and 7)
                                    – 15 –
                                  Complaint
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 1   inducing and/or contributing to the performance and misattribution of
 2   The Dance by others.
 3              As a performance artist, Ribeiro exploits his identity by
 4   performing in shows, events, and with the media. Ribeiro was damaged
 5   by Defendants’ conduct as he was prevented from reaping the profits of
 6   licensing his likeness or The Dance to Defendants.
 7              Defendants’ conduct caused and will continue to cause
 8   confusion and mistake by leading the public to erroneously believe that
 9   Ribeiro consented to the use of his likeness or The Dance in the Fortnite
10   game.
11              Ribeiro is entitled to permanent injunctive relief preventing
12   Defendants, and their officers, agents, and employees, and all related
13   persons from further using his likeness or The Dance.
14              Ribeiro is also entitled to recover damages, including any
15   profits obtained by Defendants as a result of the infringements alleged
16   above, in an amount according to proof to be determined at the time of
17   trial.
18                   FOURTH CAUSE OF ACTION
19   (For Violation of the Right of Publicity Under Cal. Civ. Code §
20                       3344 Against All Defendants)
21              Ribeiro hereby repeats and realleges the allegations set
22   forth in paragraphs 1 through 72, above, as though fully set forth
23   herein.
24              Through their use of The Dance as an in-game dance emote
25   that can be purchased as the Fresh, Defendants misappropriated
26   Ribeiro’s identity. The Fresh emote depicts Ribeiro performing The
27   Dance.
28
                                    – 16 –
                                  Complaint
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 1              Upon information and belief, Defendants created the Fresh
 2   emote by capturing and digitally copying Ribeiro performing The Dance.
 3   Defendants then utilized the digital copy to create code that, if
 4   purchased, allows player avatars to perform The Dance.
 5              Defendants did not seek or obtain Ribeiro’s authorization or
 6   consent for its use of his likeness or The Dance for the Fresh emote. Nor
 7   have Defendants compensated or credited Ribeiro for their use of his
 8   likeness or The Dance.
 9              Defendants used Ribeiro’s likeness and The Dance to
10   generate significant wealth by: 1) selling the infringing Fresh emote
11   directly to players; 2) advertising the Fresh emote to attract additional
12   players, including Ribeiro’s fans or those persons familiar with The
13   Dance to play Fortnite and make in-game purchases; 3) using Ribeiro’s
14   fame to stay relevant to its current players to incentivize those players
15   to continue playing Fortnite; 4) impliedly representing that Ribeiro
16   consented to Epic’s use of his likeness; 5) intentionally causing the
17   erroneous public association between the Fresh and The Dance; 6)
18   creating the false impression that Ribeiro endorsed Fortnite; and 7)
19   inducing and/or contributing to the performance and misattribution of
20   The Dance by others.
21              As a performance artist, Ribeiro exploits his identity by
22   performing in shows, events, and with the media. Ribeiro was damaged
23   by Defendants’ conduct as he was prevented from reaping the profits of
24   licensing his likeness or The Dance to Defendants.
25              Defendants’ conduct caused and will continue to cause
26   confusion and mistake by leading the public to erroneously believe that
27   Ribeiro consented to the use of his likeness or The Dance in the Fortnite
28   game.
                                    – 17 –
                                  Complaint
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 1              Ribeiro is entitled to permanent injunctive relief preventing
 2   Defendants, and their officers, agents, and employees, and all related
 3   persons from further using his likeness or The Dance.
 4              Ribeiro is also entitled to recover damages, including any
 5   profits obtained by Defendants as a result of the infringements alleged
 6   above, in an amount according to proof to be determined at the time of
 7   trial.
 8                     FIFTH CAUSE OF ACTION
 9      (Unfair Competition Under Cal. Bus. & Prof. Code § 17200)
10              Ribeiro hereby repeats and realleges the allegations set
11   forth in paragraphs 1 through 81, above, as though fully set forth
12   herein.
13              By    misappropriating     Ribeiro’s   likeness   through      the
14   improper use of The Dance, Defendants have engaged in business acts
15   or practices that constitute unfair competition in violation of Cal. Bus.
16   & Prof. Code. § 17200.
17              As a result of Defendants’ violations, Defendants have
18   unjustly enriched themselves by: 1) selling the infringing Fresh emote
19   directly to players; 2) advertising the Fresh emote to attract additional
20   players, including Ribeiro’s fans or those persons familiar with The
21   Dance to play Fortnite and make in-game purchases; 3) using Ribeiro’s
22   fame to stay relevant to its current players to incentivize those players
23   to continue playing Fortnite; 4) impliedly representing that Ribeiro
24   consented to Epic’s use of his likeness; 5) intentionally causing the
25   erroneous public association between the Fresh and The Dance; 6)
26   creating the false impression that Ribeiro endorsed Fortnite; and 7)
27   inducing and/or contributing to the performance and misattribution of
28   The Dance by others.
                                    – 18 –
                                  Complaint
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 1               As a result of Defendants’ conduct, Ribeiro has been
 2   damaged by Defendants’ conduct as he was prevented from reaping the
 3   profits of licensing his likeness or The Dance to Defendants.
 4               Ribeiro is entitled to permanent injunctive relief preventing
 5   Defendants, and their officers, agents, and employees, and all related
 6   persons from further using his likeness or The Dance.
 7               Ribeiro is also entitled to recover damages, including any
 8   profits obtained by Defendants as a result of the misappropriation
 9   alleged above, in an amount according to proof to be determined at the
10   time of trial.
11                     SIXTH CAUSE OF ACTION
12             (Unfair Competition Under 15 U.S.C. § 1125(a))
13               Ribeiro hereby repeats and realleges the allegations set
14   forth in paragraphs 1 through 87 above, as though fully set forth herein.
15               Since debuting The Dance, The Dance has exploded in
16   popularity. The Dance has become synonymous with Ribeiro, who is
17   unanimously credited with creating the dance that bears his famous
18   first role of Carlton Banks from The Fresh Prince of Bel-Air. Ribeiro
19   has also been interviewed several times about the creation of The Dance
20   and how to properly perform it. Accordingly, The Dance is a part of
21   Ribeiro’s identity and the dance’s unique movements readily evoke
22   imagery of Ribeiro’s famous performances of The Dance.
23               Defendant's copying and relabeling of Ribeiro’s The Dance
24   has caused confusion, deception, and mistake by the creation of the false
25   and misleading impression that Defendants were the creators of The
26   Dance or that Ribeiro was somehow affiliated, connected, or associated
27   with Defendants or provided sponsorship or approval to Defendants.
28
                                    – 19 –
                                  Complaint
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 1              Defendants have further misrepresented the nature,
 2   characteristics, qualities and origin of The Dance. Defendants have
 3   diluted Ribeiro’s signature Dance by inducing others to flood the
 4   Internet with videos with performances of The Dance without any
 5   attribution. Defendants have tarnished Riberio’s signature Dance by
 6   incorporating it, without permission, into a violent video game.
 7              As a result of Defendants’ conduct, Ribeiro is damaged by
 8   Defendants’ exploitation of his likeness through 1) selling the infringing
 9   Fresh emote directly to players; 2) advertising the Fresh emote to
10   attract additional players, including Ribeiro’s fans or those persons
11   familiar with The Dance to play Fortnite and make in-game purchases;
12   3) using Ribeiro’s fame to stay relevant to its current players to
13   incentivize those players to continue playing Fortnite; 4) impliedly
14   representing that Ribeiro consented to Epic’s use of his likeness; 5)
15   intentionally causing the erroneous public association between the
16   Fresh and The Dance; 6) creating the false impression that Ribeiro
17   endorsed Fortnite; and 7) inducing and/or contributing to the
18   performance and misattribution of The Dance by others.
19              Ribeiro is entitled to permanent injunctive relief preventing
20   Defendants, and their officers, agents, and employees, and all related
21   persons from further using The Dance.
22              Ribeiro is also entitled to recover damages, including
23   attorney’s fees, as a result of the infringements alleged above, in an
24   amount according to proof to be determined at the time of trial.
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                                    – 20 –
                                  Complaint
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 1                        PRAYER FOR RELIEF
 2   As to the First Cause of Action:
 3   1.    For an order restraining Defendants from using, selling, or
 4         displaying Ribeiro’s copyright in the Fortnite game;
 5   2.    For an award of damages according to proof;
 6   3.    For punitive and/or exemplary damages;
 7   4.    For attorney’s fees and costs;
 8   As to the Second Cause of Action:
 9   5.    For an order restraining Defendants from using, selling, or
10         displaying Ribeiro’s copyright in the Fortnite game;
11   6.    For an award of damages according to proof;
12   7.    For punitive and/or exemplary damages;
13   8.    For attorney’s fees and costs;
14   As to the Third Cause of Action:
15   9.    For an order restraining Defendants from using, advertising,
16         promoting, marketing, selling or offering for sale Ribeiro’s
17         likeness in the Fortnite game;
18   10.   For an award of damages according to proof;
19   As to the Fourth Cause of Action:
20   11.   For an order restraining Defendants from using, advertising,
21         promoting, marketing, selling or offering for sale Ribeiro’s
22         likeness in the Fortnite game;
23   12.   For an award of damages according to proof;
24   13.   For punitive and/or exemplary damages;
25   As to the Fifth Cause of Action:
26   14.   For an order restraining Defendants from advertising, promoting,
27         marketing, selling or offering for sale Ribeiro’s copyright and
28         likeness in the Fortnite game;
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 1   15.   For an award of damages according to proof;
 2   16.   For punitive and/or exemplary damages;
 3   17.   For attorney’s fees and costs;
 4   As to the Sixth Cause of Action:
 5   18.   For an order restraining Defendants from advertising, promoting,
 6         marketing, selling or offering for sale Ribeiro’s copyright and
 7         likeness in the Fortnite game;
 8   19.   For an award of damages according to proof;
 9   20.   For punitive and/or exemplary damages; and
10   21.   For attorney’s fees and costs;
11   As to All Causes of Action:
12   22.   For costs of suit; and
13   23.   For such other and further relief as the Court may deem proper.
14
15   Dated: December 17, 2018           Respectfully Submitted,

16                                      Pierce Bainbridge Beck Price &
17                                      Hecht LLP
18
                                        By: /s/Carolynn Kyungwon Beck
19
                                        Carolynn Kyungwon Beck
20                                      Attorneys for Plaintiff
21                                      Alfonso Ribeiro
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 1                                  JURY TRIAL
 2       Plaintiff Alfonso Ribeiro requests a trial by jury on all issues to
 3   which it is entitled a jury.
 4
 5   Dated: December 17, 2018           Respectfully Submitted,

 6                                      Pierce Bainbridge Beck Price &
 7                                      Hecht LLP
 8                                      By: /s/Carolynn Kyungwon Beck
 9                                      Carolynn Kyungwon Beck
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                                        Alfonso Ribeiro
27
28
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                                    Complaint
